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                    UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF NextGen 1.6.3
                               Eastern Division

Erin O'Callaghan, et al.
                                             Plaintiff,
v.                                                           Case No.: 1:19−cv−06271
                                                             Honorable John J. Tharp Jr.
University of Illinois at Chicago, et al.
                                             Defendant.



                           NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, May 24, 2022:


        MINUTE entry before the Honorable M. David Weisman: Motion hearing held.
For the reasons stated on record, plaintiffs' motion to quash subpoena [112] is granted
without objection. Ruling on motion/motion hearing on motions [86], [88], [90], [93] and
[107] set for 6/7/22 at 10:30 a.m. remains. Parties shall dial in using the Court's
conference call−in number. The conference call−in number is 1−877−411−9748 and the
passcode is 1814539. Members of the public and media who wish to listen to this hearing
may call in. Persons granted remote access to proceedings are reminded of the general
prohibition against photographing, recording, and rebroadcasting of court proceedings.
Violation of these prohibitions may result in sanctions, including removal of court issued
media credentials, restricted entry to future hearings, denial of entry to future hearings, or
any other sanctions deemed necessary by the Court. Mailed notice (ao, )




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